Case 2:92-cv-02062-.]PI\/|-tmp Document 2041 Filed 08/19/05 Page 1 of 4 Page|D 9706

IN THE UNITED sTATES DIsTRICT COURT *’"£° B"' -L}§L- D‘Q-
FoR THE wEsTERN DISTRICT 01= TENNESSEE 05 AUG ‘9 PH 2, ha

 

WESTERN DIVISION
CLEH%U.SW 0 CCUT

UNITED sTATEs OF AMERICA, MEWH*S

Plainr.in; ease No.: 92-2062 D A
V.
sTATE 0F TENNESSEE, et al.,

Defendants,
PEOPLE FIRST 0F TENNESSEE,

PARENT-GUARDIAN ASSOCIATION
OF ARLINGTON DEVELOPMENTAL CENTER,

Intervenors.

 

ORDER DIRECTING CLERK TO DISBURSE FUNDS

 

Pursuant to this Court’s Orders entered July 19, 2005 Defendant State of Tennessee was
directed to pay $182,352.90 for expenses incurred in April 2005 and May 2005 by the Coul't
Monitor, Dr. Nancy K. Ray. It appears that Defendant has paid said amount into the Registry of the
Court as so ordered. The Clerk of Court is therefore directed to disburse the sum of $182,352.90
previously placed in the Registry of the Court, to NKR & Associates, lnc., 318 Delaware Avenue,

Delmar, New York 12054.

IT IS SO ORDERED this 53 day of August, 2005.

   
 

T'nls document entered on the dockets v

w\th ana 58 mm veto FHCP °“ UNlTED sTATEs DISTRICT JUDGE

   

UN1TED S'T'TAES D1STR1C COURT - WESTENR 1CSR1T oF TNNESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 2041 in
case 2:92-CV-02062 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

